                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

 MAXUS METROPOLITAN, LLC,                      )
                                               )
                  Plaintiff,                   )
                                               )
 v.                                            )    Case No. 20-cv-00095-FJG
                                               )
 TRAVELERS PROPERTY CASUALTY                   )
 COMPANY OF AMERICA                            )
                                               )
                 Defendant.                    )

                                ENTRY OF APPEARANCE
       COMES NOW Daniel E. Hamann of Deacy & Deacy, LLP and hereby enters his

appearance as counsel for defendant in above-captioned cause.

                                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I do hereby certify that on February 11, 2020, I electronically submitted the foregoing with
the Clerk of the Court for the United State District Court for the Western District of Missouri using
the CM/ECF system, which will send a Notice of Electronic Filing to the following counsel of
record:

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                                                      /s/ Dale L. Beckerman
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